
500 Pa. 179 (1982)
455 A.2d 108
PENNSYLVANIA NATIONAL MUTUAL CASUALTY INSURANCE COMPANY, Petitioner,
v.
Blanche M. GUITON, Respondent.
Supreme Court of Pennsylvania.
December 31, 1982.
Charles A. Shaffer, Wilkes-Barre, for petitioner.
*180 Edward P. Little, Montrose, for respondent.
Before O'BRIEN, C.J., and ROBERTS, NIX, LARSEN, FLAHERTY, McDERMOTT and HUTCHINSON, JJ.

ORDER
PER CURIAM.
The petition for review is granted. The order of the Superior Court, 447 A.2d 284, is vacated and the case is remanded to that court for consideration in light of Sachritz v. Pennsylvania National Mutual Casualty Insurance Company, 500 Pa. 167, 455 A.2d 101, decided this day.
LARSEN, J., dissents for the reasons set forth in his dissenting opinion in Sachritz.
